            Case 2:21-cv-05223-CFK Document 14 Filed 12/23/21 Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 PEITRO TAWADROUS,

                 Plaintiff,
                                                              CASE NO. 2:21-cv-05223-CFK
         v.

 TRANS UNION, LLC, EXPERIAN
 INFORMATION SOLUTIONS, INC.,
 COMENITY BANK, CAPITAL ONE, N.A.,
 USAA SAVINGS BANK, AND WELLS
 FARGO DEALER SERVICES,

                 Defendants.


                        CORPORATE DISCLOSURE STATEMENT OF
                        EXPERIAN INFORMATION SOLUTIONS, INC.

       Pursuant to Federal Rule of Civil Procedure 7.1, and to enable Judges and Magistrate

Judges to evaluate possible disqualification or recusal, the undersigned counsel for Experian

Information Solutions, Inc. (“Experian”) certifies that the following are parents, subsidiaries

and/or affiliates of said party that have issued shares or debt securities to the public:

       1.       Experian is a non-governmental corporate entity.

       2.       Parent Companies: The ultimate parent company of Experian is Experian plc.

       3.       Subsidiaries Not Wholly Owned: The following companies are the U.S.-based
                subsidiaries of Experian plc that are not wholly owned:

                (a)     Central Source LLC;

                (b)     Online Data Exchange LLC;

                (c)     New Management Services LLC;

                (d)     VantageScore Solutions LLC; and

                (e)     Opt-Out Services LLC.
          Case 2:21-cv-05223-CFK Document 14 Filed 12/23/21 Page 2 of 3




     4.       Publicly Held Companies: Experian plc owns 100 percent of Experian. Experian
              plc is registered as a public company in Jersey, Channel Islands, and is publicly
              traded on the London Stock Exchange.


Dated: December 23, 2021                        Respectfully submitted,


                                                /s/ Christopher M. Hunchuck
                                                Christopher M. Hunchuck (Pa. 327405)
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                                                Counsel for Defendant
                                                Experian Information Solutions, Inc.




                                             -2-
         Case 2:21-cv-05223-CFK Document 14 Filed 12/23/21 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on December 23, 2021, I electronically filed a true and correct copy

of CORPORATE DISCLOSURE STATEMENT OF EXPERIAN INFORMATION

SOLUTIONS, INC. with the Clerk of Court using the CM/ECF system, which will

automatically send notification of such filing to ECF-registered parties.


                                                   /s/ Christopher M. Hunchuck
                                                   Christopher M. Hunchuck

                                                   Counsel for Defendant
                                                   Experian Information Solutions, Inc.
